Case 2:18-cv-08048-SVW-JC Document 29 Filed 12/26/18 Page 1 of 2 Page ID #:146



  1 HUESTON HENNIGAN LLP
    John C. Hueston, State Bar No. 164921
  2 jhueston@hueston.com
    Moez M. Kaba, State Bar No. 257456
  3 mkaba@hueston.com
    Sourabh Mishra, State Bar No. 305185
  4 smishra@hueston.com
    Michael H. Todisco, State Bar No. 315814
  5 mtodisco@hueston.com
    523 West 6th Street, Suite 400
  6 Los Angeles, CA 90014
    Telephone: (213) 788-4340
  7 Facsimile: (888) 775-0898
  8 Attorneys for Defendant Elon Musk
  9
                               UNITED STATES DISTRICT COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
11
12
      VERNON UNSWORTH,                            Case No. 2:18-cv-08048
13
                      Plaintiff,                  Judge: Hon. Stephen V. Wilson
14
                vs.                               CERTIFICATION OF INTERESTED
15                                                ENTITIES OR PERSONS
16 ELON MUSK,                                     Complaint Filed:    Sept. 17, 2018
                                                  Trial Date:         None set
17                    Defendant.
18
19
20
21
22
23
24
25
26
27
28
                                                -1-
                      DEFENDANT ELON MUSK’S CERTIFICATION OF INTERESTED PARTIES
      5450653
Case 2:18-cv-08048-SVW-JC Document 29 Filed 12/26/18 Page 2 of 2 Page ID #:147



  1             Pursuant to Civil Local Rule 7.1-1, Defendant Elon Musk, by and through
  2 counsel, hereby certifies that no persons, associations of persons, firms,
  3 partnerships, corporations, or other entities have: (1) a financial interest in the
  4 subject matter in controversy or in a party to the proceeding, or (2) a non-financial
  5 interest in that subject matter or in a party that could be substantially affected by the
  6 outcome of this proceeding.
  7
      Dated: December 26, 2018                HUESTON HENNIGAN LLP
  8
  9
                                              By: /s/ Moez M. Kaba
10
                                                  Moez M. Kaba
11                                                Attorneys for Defendant Elon Musk
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                -2-
                      DEFENDANT ELON MUSK’S CERTIFICATION OF INTERESTED PARTIES
      5450653
